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Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



 TSMA FRANCHISE SYSTEMS, INC.,

                  Plaintiff,
                                                           Civil Action No. 20-11088
            v.                                                    (JMV) (JBC)
 TS OF KINGS HIGHWAY INC. and SEAN
                                                                   ORDER
 NOLAN,

                  Defendants.



 TS OF KINGS HIGHWAY INC. and SEAN
 NOLAN,

 Counterclaimants/Third-Party Plaintiffs,

           v.

 TSMA FRANCHISE SYSTEMS, INC.,
          Counterclaim Defendant

            and

 DANIEL     SCHULMANN,       ANTHONY
 VISCOVICH, BRYAN GOTTHOFFER, MIKE
 SACHS, DINA COSTA, and RAY ROUSA,

                 Third-Party Defendants.

John Michael Vazquez, U.S.D.J.

       For the reasons expressed in the accompanying Opinion, and for good cause shown,

       IT IS on this 28th day of June, 2021,
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          ORDERED that Plaintiff TSMA Franchise and Third-Party Defendant Bryan Gotthoffer’s

motion to dismiss the Third-Party Complaint and Counterclaims, D.E. 15 is GRANTED in part

and DENIED in part; and it is further

          ORDERED that Third-Party Defendants’ Anthony Viscovich, Mike Sachs, and Dina

Costa’s motion to dismiss the Third-Party Complaint and Counterclaims, D.E. 21, is GRANTED

in part and DENIED in part; and it is further

          ORDERED that Counts Three and Four are DISMISSED without prejudice insofar as

they allege fraud and misrepresentations concerning the anticipated revenue and profits to be

generated by the Bensonhurst location; and it is further

          ORDERED that Counts Seven and Eight are DISMISSED without prejudice; and it is

further

          ORDERED that Counts Three, Four, Five, and Six are DISMISSED without prejudice

as against Viscovich, Sachs, and Costa; and it is further

          ORDERED that Defendants have thirty (30) days to file an amended pleading addressing

the deficiencies noted in the accompanying Opinion; and it is further

          ORDERED that if Defendants fail to file an amended pleading within the allotted time

period, the matters dismissed without prejudice will be dismissed with prejudice; and it is further

          ORDERED that within ten (10) days of the date of this Order, the parties shall contact the

United States Magistrate Judge as to further scheduling.



                                                              __________________________
                                                              John Michael Vazquez, U.S.D.J.
